         Case 1:09-md-02013-PAC Document 57                         Filed 09/30/10 Page 1 of 45


                                                                     USDC SDNY
                                                                     DOCUMENT
                                                                     ELECTRONICALLY FILED
                                                                     DOC #: _________________
                                                                     DATE FILED: 04/08/2019
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
In re FANNIE MAE 2008 SECURITIES                           :           08 Civ. 7831 (PAC)
LITIGATION                                                 :           09 MD 2013 (PAC)
                                                           :
                                                           :           OPINION & ORDER
-----------------------------------------------------------x



HONORABLE PAUL A. CROTTY, United States District Judge:


                                              BACKGROUND1

        The early years of this decade saw a boom in home financing which was fueled, among

other things, by low interest rates and lax credit conditions. New lending instruments, such as

subprime mortgages (high credit risk loans) and Alt-A mortgages (low-documentation loans)

kept the boom going. Borrowers played a role too; they took on unmanageable risks on the

assumption that the market would continue to rise and that refinancing options would always be

available in the future. Lending discipline was lacking in the system. Mortgage originators did

not hold these high-risk mortgage loans. Rather than carry the rising risk on their books, the

originators sold their loans into the secondary mortgage market, often as securitized packages

known as mortgage-backed securities (“MBSs”). MBS markets grew almost exponentially.

        But then the housing bubble burst. In 2006, the demand for housing dropped abruptly

and home prices began to fall. In light of the changing housing market, banks modified their

lending practices and became unwilling to refinance home mortgages without refinancing.


1
 Unless otherwise indicated, all references cited as “(¶ _)” or to the “Complaint” are to the Amended Complaint,
dated June 22, 2009. For purposes of this Motion, all allegations in the Amended Complaint are taken as true.



                                                         1
